


  On October 29, 1999, this court suspended the petitioner, Michael R. McIntosh, n/k/a Atif Michael McIntosh Abdel-Khaliq, from the practice of law in Kansas for an indefinite period of time. See
  
   In re McIntosh,
  
  268 Kan. 73, 75-76, 991 P.2d 403 (1999). Before reinstatement, the petitioner was required to pay the costs of the disciplinary action, comply with Supreme Court Rule 218 (2010 Kan. Ct. R. Annot. 370), and undergo a hearing pursuant to Supreme Court Rule 219 (2010 Kan. Ct. R. Annot. 370).
 

  On June 16, 2009, McIntosh filed a petition with this court for reinstatement to the practice of law in Kansas. The petition was referred to the Disciplinary Administrator for consideration by the Kansas Board for Discipline of Attorneys, pursuant to Supreme Court Rule 219. On July 6, 2010, a hearing was held before a hearing panel of the Kansas Board for Discipline of Attorneys to consider McIntosh’s request for reinstatement.
 

  On August 25, 2010, the panel filed its report setting out the circumstances leading to McIntosh’s suspension, a summary of the evidence presented, and its findings and recommendations. The panel unanimously recommended that McIntosh’s petition for reinstatement to the practice of law in Kansas be granted. The panel further recommended that McIntosh’s reinstatement be conditioned on the following items:
 

  “a. Within 30 days of the date of this report, the Petitioner shall provide the Disciplinary Administrator with documentation from the Kansas Department of Revenue and the Internal Revenue Service establishing that the Petitioner does not continue to owe the taxing entities for taxes, interest, or penalties.
 

  “b. The Petitioner [shall] work with the Disciplinary Administrator to locate an attorney that is mutually agreed upon by the Petitioner and the Disciplinary Administrator who is appropriate to supervise the Petitioner’s re-entry into the practice of law. The Petitioner shall work with this attorney for at least two years to set up and maintain the business side of his law practice. The attorney should
   
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  assist the Petitioner in establishing an attorney trust account; assist the Petitioner in setting up a system to reconcile and maintain the attorney trust account; assist the Petitioner in understanding legal and ethical ways to finance and cash flow Petitioner’s practice; and ensure that all taxes are properly paid to the state and federal governments.
 

  Dated this 22nd day of March, 2011.
 

  “c. The Petitioner shall successfully complete at least 10 hours of education on law office management, to be approved by the Disciplinary Administrator, within 120 days of the date of this report.
 

  “d. The Petitioner shall present documentary proof of CLE payments in full.”
 

  The petitioner has satisfied the conditions recommended by the panel.
 

  The court, after carefully considering the record, accepts the findings and recommendations of the panel that the petitioner be reinstated to the practice of law in Kansas.
 

  It Is Therefore Ordered that McIntosh be reinstated to the practice of law in the state of Kansas conditioned upon his compliance with the annual continuing legal education requirements and upon his payment of all fees required by the Clerk of the Appellate Courts and the Kansas Continuing Legal Education Commission. Upon the report to the Clerk of the Appellate Courts that the petitioner has complied with the annual continuing legal education requirements and has paid the fees required by the Clerk of the Appellate Courts and the Kansas Continuing Legal Education Commission, the Clerk is directed to enter petitioner s name upon the roster of attorneys engaged in the practice of law in Kansas.
 

  It Is Further Ordered that this order of reinstatement for McIntosh shall be published in the Kansas Reports and the costs of the reinstatement proceeding are assessed to the petitioner.
 
